        Case 1:21-cr-00028-APM Document 402 Filed 09/07/21 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                             )
 UNITED STATES OF AMERICA,                   )
                                             )       Criminal No. 1:21-cr-00028-APM
                     v.                      )
                                             )
 CONNIE MEGGS,                               )
                                             )
                Defendant.                   )
                                             )

                          ENTRY OF APPEARANCE OF COUNSEL

       Notice is hereby given that Stanley E. Woodward, Jr. of the law firm Brand Woodward

Law, enters his appearance as counsel for Defendant Connie Meggs.



 Dated: September 7, 2021                Respectfully submitted,

                                                /s/ Stanley E. Woodward, Jr.
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                                         Counsel for Defendant Connie Meggs
         Case 1:21-cr-00028-APM Document 402 Filed 09/07/21 Page 2 of 2




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                            FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )     Criminal No. 1:21-cr-00028-APM
                       v.                          )
                                                   )
 CONNIE MEGGS,                                     )
                                                   )
                  Defendant.                       )
                                                   )

                                  CERTIFICATE OF SERVICE

        On September 7, 2021, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification to all parties of record.



                                                     /s/ Stanley E. Woodward, Jr.
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